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                IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA
 Plaintiff                                   CRIMINAL 15-0516-01CCC
 vs
 1) NORMAN VALLELLANES-ROSA
 Defendant


                                    ORDER

      Having considered the Report and Recommendation filed on
February 16, 2017 (d.e. 71) on a Rule 11 proceeding of defendant [1] Norman
Vallellanes-Rosa before U.S. Magistrate-Judge U.S. Magistrate-Judge
Camille L. Vélez-Rivé on February 1, 2017, to which no objection has been
filed, the same is APPROVED. Accordingly, the plea of guilty of defendant is
accepted. The Court FINDS that his plea was voluntary and intelligently
entered with awareness of his rights and the consequences of pleading guilty
and contains all elements of the offense charged in the indictment.
      This case was referred to the U.S. Probation Office for preparation of a
Presentence Investigation Report since February 1, 2017. The sentencing
hearing is set for MAY 3, 2017 at 4:30 PM.
      The U.S. Probation Officer is reminded that, should any objections be
raised by defendant to the PreSentence Report, the Addendum to said
PreSentence Report must specifically identify any unresolved objections, the
grounds for the objections, and the U.S. Probation Officer’s comments on
them, as required by Fed. R. Crim. P. 32(g). The party that raised the
unresolved objections shall, within twenty-four (24) hours after the
Addendum is disclosed, state in writing whether it will insist that the unresolved
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objections be ruled upon by the Court. Failure to do so will be deemed by the
Court as a withdrawal of the unresolved objections.
     SO ORDERED.
     At San Juan, Puerto Rico, on March 9, 2017.



                                   S/CARMEN CONSUELO CEREZO
                                   United States District Judge
